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 1
     ANTHONY C. WILLIAMS (SBN 239397)
 2   1658 Princeton Road
     West Sacramento, CA 95691
 3   Tel: 916-704-4600
     Fax: 225-441-9491
 4
     Attorney for ERICA R. ARCEO, Defendant
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 6
                                    UNITED STATES DISTRICT COURT
 7

 8                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                       )   Case No.: 2:11-CR-00054-TLN
                                                     )
12                                                   )
                            vs.                      )   STIPULATION AND [PROPOSED]
13
                                                     )   ORDER TERMINATING PRETRIAL
     ERICA ARCEO, ET AL.,                            )   SERVICES SUPERVISION
14
                                                     )
                    Defendants                       )
                                                     )
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                                                     )
                                                     )
16                                                   )
                                                     )
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18           The United States of America, through its counsel Matthew D. Segal, and defendant Erica

19   Arceo, through her counsel Anthony C. Williams, upon the recommendation of Pretrial Services due
20   to her record of compliance, stipulate that Pretrial Services supervision of Erica Arceo shall be
21
     terminated. It is understood by the parties that the unsecured bond previously posted by Erica Arceo
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     to secure her bail shall remain in effect and that the United States passport heretofore surrendered by
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24
     her shall remain in the custody of the Court.

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             STIPULATION AND [PROPOSED] ORDER TERMINATING PRETRIAL SERVICES SUPERVISION
           Case 2:11-cr-00054-TLN Document 226 Filed 07/15/14 Page 2 of 2


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                                                          Respectfully submitted,
 2
     DATED: June 29, 2014                                /s/ Anthony C. Williams for
 3
                                                          MATTHEW SEGAL
 4                                                        Assistant U.S. Attorney

 5

 6   DATED: June 29, 2014                                /s/ Anthony C. Williams
                                                         ANTHONY C. WILLIAMS
 7                                                       Attorney at Law
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10
                                            [PROPOSED] ORDER
11
     Good cause appearing, upon stipulation of the parties, it is ordered that supervision by
12   Pretrial Services of Erica Arceo is terminated. The unsecured bond previously posted by her in this
     case shall remain in effect and the passport surrendered by her shall remain in the Court’s custody.
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14   IT IS SO ORDERED

15   Dated: July 15, 2014
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                                                     _____________________________________
                                                     CAROLYN K. DELANEY
17                                                   UNITED STATES MAGISTRATE JUDGE

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           STIPULATION AND [PROPOSED] ORDER TERMINATING PRETRIAL SERVICES SUPERVISION
